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                       UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION



 IN RE:                                         §
 LS Motorcars, LLC                              §
                                                §      Case No. 21-40441 -11 BTR
                                                §
                                                §
        Debtor.                                 §



                  AMENDED ORDER SETTING PLAN RELATED
                          DEADLINES AND HEARING ON
                                   CONFIRMATION
                 (SMALL BUSINESS DEBTOR – SUBCHAPTER V)
         On June 24, 2021, the debtor in the above referenced case (the “Debtor”) filed a

 Plan of Reorganization, and in light of the Debtor’s election to have subchapter V of

 chapter 11 apply to this case, the Court finds cause for entry of this Order.

     IT IS THEREFORE ORDERED, AND NOTICE IS HEREBY GIVEN,
 THAT:

        A. On or before June 28, 2021 a copy of this Order, the Debtor’s proposed

 Chapter 11 Plan, and a ballot conforming to Official Form 14 shall be mailed to creditors,

 equity security holders, and other parties in interest, and shall be transmitted to the United

 States Trustee, as provided in Federal Rule of Bankruptcy Procedure 3017(d); however,

 in accordance with 11 U.S.C. §1126(f), acceptances and rejections will not be solicited

 from any class that is not impaired under the proposed plan;

        B. July 23, 2021 is fixed as the last day for submitting written acceptances or

 rejections of the Debtor’s proposed Chapter 11 plan which must be received by 5:00 p.m.

 (CDT) on that date at the offices of Eric A. Liepins ,12770 Coit Road, Suite 850



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 Dallas, TX 75251, and no acceptances or rejections received after the stated deadline

 shall be counted or otherwise included in the tabulation of acceptances and rejections of

 the Debtor’s proposed Chapter 11 plan without further Court order;

        C. July 21, 2021 is fixed as the last day for filing and serving written objections

 to confirmation of the Debtor’s proposed Chapter 11 plan pursuant to Federal Rule of

 Bankruptcy Procedure 3020(b)(1) and all comments or objections not timely filed and

 served by such deadline shall be deemed waived;

        D. July 13, 2021 is fixed as the last day for a creditor to make an election under

 11 U.S.C §1111(b).

        E. The telephonic hearing to consider the confirmation of the Debtor’s proposed

 Chapter 11 Plan is fixed and shall be held on July 27, 2021 at 9:30 a.m. Parties are

 instructed to dial 1-888-675-2535, use Access No. 4225607 and Security No. 6324, as

 well as directed to review the instructions contained in the following link for all

 telephonic hearings before Judge Rhoades:

 http://www.txeb.uscourts.gov/content/judgerhoades. The information can be found by

 accessing the Court’s webpage at www.txeb.uscourts.gov and choosing “Judge’s Info”,

 then choosing “Judge Rhoades”, and then choosing “Telephonic Hearing” Tab.

 which hearing may be adjourned or continued to a different date without further notice

 other than notice given in open court at such hearing.


                                                            Signed on 6/28/2021

                                                                                                  YM
                                                 HONORABLE BRENDA T. RHOADES,
                                                 CHIEF UNITED STATES BANKRUPTCY JUDGE



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